        4:16-cv-11366-LVP-APP      Doc # 6    Filed 06/24/16   Pg 1 of 1   Pg ID 13



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DEBRA LUKASIEWICZ,

              Plaintiff,

        V.                                             CASE NO. 16-11366
                                                       HON. LINDA V. PARKER

STONELEIGH RECOVERY
ASSOCIATES, LLC,

              Defendant.
                                          /

                                 ORDER OF DISMISSAL

        The Plaintiff having filed a Notice of Voluntary Dismissal [ECF No. 5] on June 24,

2016;    Accordingly, the above-entitled action is DISMISSED WITH PREJUDICE AND

WITHOUT COSTS.


                            s/Linda V. Parker
                            Linda V. Parker
                            United States District Judge

Dated: June 24, 2016

I hereby certify that a copy of the foregoing document was served upon counsel of record
on June 24, 2016, by electronic and/or ordinary mail.

                            s/ Shawna Burns on behalf of Richard Loury
                            Case Manager
